                                                                                    2216-CV00102




         IN THE CIRCUIT COURT OF JACKSON COUNTY,MISSOURI
                            AT INDEPENDENCE

KENNETH SHIELDS,

         Plaintiff,
                                                       Case No:
vs.
                                                       Division:
SITE CENTERS CORD,
Serve: Registered Agent
CT Corporation
120 South Central Ave., Ste. 400
St. Louis, MO 63105

         Defendant.                                   Jury Trial Demanded


                        PLAINTIFF'S PETITION FOR DAMAGES

         COMES NOW plaintiff Kenneth Shields and for his causes of action against

defendant Site Centers Cozp. alleges and states as follows:

         1.      Plaintiff Kenneth Shields is an adult resident and citizen of the State

of Missouri, residing at 5217 Willow Ave., Kansas City, Jackson County, Missouri,

64133.

         2.      Defendant Site Centers Corp. is a foreign corporation authorized to

conduct business in Missouri. At all relevant times, defendant was the owner,

operator and/or manager ofthe Independence Commons retail facility -- located at

19000 East 39~~' Street, Independence, Jackson County, Missouri, 64057.

         3.      At all relevant times, defendant generally availed itself of the

privilege of doing business in the State of Missouri. Defendant owned, operated


                                                                                           A
          Case 4:22-cv-00134-GAF Document 1-1 Filed 02/28/22 Page 1 of 12
and/or managed the Independence Commons retail facility in Jackson County,

Missouri, committed a tort in Jackson County, Missouri, and is otherwise subject to

the personal jurisdiction of this Court.

       4.       Plaintiff was injured by the tortious acts and omissions of defendant

in the eastern portion of Jackson County, Missouri, and therefore venue is

appropriate in this Court.

                ALLEGATIONS COMMON TO ALL CLAIMS

                Tn October 2019, defendant was the owner, operator and/or manager

ofthe Independence Commons retail facilities -- located at 19000 East 39`h Street,

Independence, Jackson County, Missouri. At all relevant times, defendant owned,

managed and/or controlled the common premises in and around the AMC Theatres

at the Independence Commons retail facility.

       6.       On October 26,2019, plaintiff and his wife were at the Independence

Commons retail complex and had parked their car in the parking lot in front ofthe

AMC Theatre. Plaintiff and his wife got out oftheir car and were walking toward

the theatre. The concrete curb in front ofthe AMC Theatre was painted red. As

plaintiff was walking toward the AMC Theatre, his normal walking gait was such

that he stepped on top of the concrete curb with one of his feet. At that moment,

plaintiffs foot landed in a hole/defect in the top of the concrete curb, where a chunk

of concrete had fallen out --- this caused plaintiff to fall hard to the concrete surface.

As a direct result of the fall, plaintiff suffered significant injuries -- including a

fractured right wrist.




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         Case 4:22-cv-00134-GAF Document 1-1 Filed 02/28/22 Page 2 of 12
       7.       No signs or any form of warning was provided to alert plaintiff about

the dangerous condition (i.e., the hole/defect in the curb} of the customer walking

area in front of the AMC Theatre. Indeed, the red paint applied over the hole/defect

served to disguise the hole/defect.

                       COUNT I —PREMISES LIABILITY

       8.       Plaintiff restates and incorporates by reference each of the above

allegations.

       9.       On or about October 26, 20 X 9, plaintiff was lawfully present at the

Independence Commons retail premises -- which was owned, operated and/or

controlled by defendant -- located at 19000 East 39t~' Street, Independence, Missouri.

          10.   On or about October 26, 2019, a dangerous condition existed on

defendant's business premises. More specifically, the hole/defect on the top of the

concrete curb -- which caused plaintiff's fall and injuries -- was located in an area

open to and routinely used by customers, including plaintiff, thus creating atrip/fall

hazard.

          11.   Defendant had a duty to exercise ordinary care to maintain the

business premises in a reasonably safe condition -- free from dangerous conditions --

and owed a duty to plaintiff to warn of the existence ofthe dangerous condition

described above and/or to remedy the dangerous condition in a timely manner.

          12.   Defendant needlessly and recklessly endangered plaintiff and was

negligent in failing to timely rennedy the hole/defect and failing to properly maintain

the walking area in front ofthe movie theatre, and defendant was further negligent in

failing to warn plaintiff ofthe dangerous condition.




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        13.     By and through its agents, servants and/or employees, defendant was

actually aware of the dangerous condition and/or should have been aware of the

dangerous condition by exercising ordinary care and due diligence.

        14.     As a direct and paoximate result ofthe dangerous condition ofthe

premises, on or about October 26, 2019, plaintiff stepped into the hole/defect in the

curb and tripped and fell hard to the concrete walking surface, causing significant

injuries to plaintiff -- including a fractured right wrist.

        15.     As a direct and proximate result of defendant's acts and omissions, as

described above, plaintiff has suffered damages/injuries for pain and suffering,

disability, permanent disfigurement and scarring, past and future lost wages, and loss

of enjoyment of life. Plaintiff's injuries and damages are continuing.

        16.     As a direct and proximate result of defendant's acts and omissions, as

described above, plaintiff has incurred damages/injuries for medical treatment and

services. Plaintiffls injuries and damages are continuing.

        WHEREFORE,plaintiff Kenneth Shields prays for judgment against

defendant in an amount that will fairly and justly compensate plaintiff for his injurzes

and damages — in an amount in excess of $25,000.00; for costs incurred herein; and

for such other and further remedies, orders,judgments and decrees as the Court

deems just under the circumstances.

                        COUNT II -- NEGLIGENCE

        17.     Plaintiff restates and incorporates by reference each ofthe allegations

stated above.




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         Case 4:22-cv-00134-GAF Document 1-1 Filed 02/28/22 Page 4 of 12
        18.    Defendant had a duty to exercise ordinary and reasonable care to

protect plaintiff from injury while plaintiff was lawfully at the business premises,

and to warn against and remedy any danger that might be reasonably anticipated.

        19.    Defendant breached its duty of care and was thereby negligent in (a)

failing to timely and properly inspect the walking area —including the curb -- in

front of the AMC Theatre to ensure that the pedestrian/customer walking area was in

a reasonably safe condition for the ordinary and intended use by customers;(b)

failing to maintain the pedestrian/customer walking area in front ofthe AMC

Theatre in a reasonably safe condition;(c)failing to timely repair the holes/defects

in the concrete curb in front of the AMC Theatre;(d)failing to adequately supervise

the inspection and/or maintenance of the pedestrian/customer walking area in front

ofthe AMC Theatre; and (e)failing to warn plaintiff about the dangerous condition.

       20.     The negligent acts and/or omissions stated herein were committed by

employees, servants and/or agents of defendant while acting in the ordinary course

and scope of their employment/agency. As a result, defendant is liable to plaintiff

for the negligent acts and omissions of its employees, servants and/or agents

pursuant to the doctrine of respondeat superior.

       21.     As a direct and proximate result of defendant's negligent acts and/or

omissions, plaintiff has suffered actual damages/injuries including pain and

suffering, permanent disfigurement and scarring, past and future lost wages, and loss

of enjoyment of life. Plaintiffs damages and injuries are continuing.




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        22.     As a direct and proximate result of defendant's negligent acts and/or

omissions, plaintiff has suffered actual damages/injuries including charges for

medical treatment and services. Plaintiff's damages and injuries are continuing.

        WHEREFORE, plaintiff Kenneth Shields prays for judgment against

defendant in an amount that will fairly and justly compensate plaintiff for his

injuries, in an amount in excess of $25,000.00; for costs incurred herein; and for

such other and further remedies, orders,judgments and decrees as the Court deems

just under the circumstances.

                       DEMAND FOR JURY TRIAL

Plaintiff hereby demands a jury trial on all issues triable by jury.



                                               GUSTAFSON LAW LLC



                                               By:
                                               Crai         afson M      5
                                               3145 Broadway
                                               Kansas City, Missouri 64111
                                               Ph: 816-960-7121
                                               Fax: 816-561-3939
                                               Craig@gustafsonlawkc.com
                                               Attorneyfor Plaintiff




                                   .:~
         Case 4:22-cv-00134-GAF Document 1-1 Filed 02/28/22 Page 6 of 12
              IN TAE CIRCUIT COURT OF JACKSON COUNTY,MISSOURI
                               AT INDEPENDENCE

KENNETH SHIELDS,

                       PLAINTIFF(S),                                   CASE NO. 2216-CV00102
VS.                                                                    DIVISION 16

SITE CENTERS CORP,

                       DEFENDANT(S).

         NOTICE OF CASE MANAGEMENT CONFERENCE FOR CIVIL CASE
                        AND ORDER FOR MEDIATION


         NOTICE IS HEREBY GIVEN that a Case Management Conference will be held with the
Honorable MARCO A ROLDAN on 27-APR-2022 in DIVISION 16 at 08:30 AM. All
Applications for Continuance of a Case Management Conference should be filed on or before
Wednesday ofthe week prior to the case management setting. Applications for Continuance of a
Case Management Conference shall comply with Supreme Court Rule and 16th Cir. R. 34.1.
Continuance ofa Case Management Conference will only be granted for good cause shown because
it is the desire ofthe Court to meet with counsel and parties in all cases within the first4 months that
a case has been on file. All counsel and parties are directed to check Case.NET on the 16~'Judicial
Circuit web site at www.l6thcircuit.or~ after filing an application for continuance to determine
whether or not it has been granted.

        A lead attorney ofrecord must be designated for each party as required by Local Rule 3.5.1.
 A separate pleading designating the lead attorney ofrecord shall be filed by each party as described
in Local Rule 3.5.2. The parties are advised that ifthey do not file a separate pleading designating
lead counsel,even in situations where there is only one attorney representing the party, JIS will not
be updated by civil records department, and copies of orders will be sent to the address currently
shown in JIS. Civil Records does not update attorney information from answers or other pleadings.
The Designation of Lead Attorney pleading shall contain the name of lead counsel, firm name,
mailing address, phone number, FAX number and E-mail address of the attorney who is lead
counsel.
        At the Case Management Conference, counsel should be prepared to address at least the
following:

        a.       Atrial setting;
        b.       Expert Witness Disclosure Cutoff Date;
        c.       A schedule for the orderly preparation ofthe case for trial;
        d.       Any issues which require input or action by the Court;
        e.       The status of settlement negotiations.




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                                           MEDIATION
        The parties are ordered to participate in mediation pursuant to Supreme Court Rule 17.
Mediation shall be completed within 10 months after the date the case if filed for complex cases,
and 6 months after the date the case is filed for other circuit cases, unless otherwise ordered by
the Court. Each party shall personally appear at the mediation and participate in the process. In
the event a party does not have the authority to enter into a settlement, then a representative of
the entity that does have actual authority to enter into a settlement on behalf ofthe party shall
also personally attend the mediations with the party.

       The parties shall confer and select a mutually agreeable person to act as mediator in this
case. Ifthe parties are unable to agree on a mediator the court will appoint a mediator at the
Case Management Conference.

       Each party shall pay their respective pro-rata cost ofthe mediation directly to the
mediator.

                                  POLICIES/PROCEDURES
       Please refer to the Court's web page www.l6thcircuit.or~ for division policies and
procedural information listed by each judge.


                                             /S/ MARCO A ~2~I,DAN
                                             MARCO A ROLDAN,Circuit Judge


                                      Certificate of Service

        This is to certify that a copy ofthe foregoing was electronic noticed, faxed, emailed
andlor mailed or hand delivered to the plaintiff with the delivery of the file-stamped copy ofthe
petition. It is further certified that a copy ofthe foregoing will be served with the summons on
each defendant named in this action.

Attorney for Plaintiff(s):
CRAIG E GUSTAFASON,GUSTAFSON LAW LLC,3145 BROADWAY,KANSAS CITY,
MO 64111

Defendant(s):
SITE CENTERS CORD

 Dated: 04-JAN-2022                                            MARY A. MARQUEZ
                                                               Court Administrator




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                                             IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI

                               Kenneth Shields, plaintiff,
                                                                           Case No: 2216-CV00102
                                          Vs.
                                                                            Division: 16
                            Site Centers Corp., defendant



                                        MOTION FOR APPROVAL AND APPOINTMENT OF PRIVATE PROCESS SERVER

COMES NOW plaintiff, by and through his attorney of record, and for plaintiff's Motion for Approval and Appointment of Private Process Server,
hereby requests that D&B Legal Services, Inc.: Legal Names (s):


         Alisha Allen PP522-0001                        James Hise PP522-0294                        William Powell PPS22-0077
         Sallie Bailey PP522-0003                       Tawanda Johnson PP522-0166                   Kim Presler PPS22-0078
         Carl Barnett PP522-0254                        Patrick Jones PP522-0167                     Mark Rauss PPS22-0082
         Thomas Bogue PPS22-0118                        Chelsea Ketron PP522-0044                    Jorge A Rivera PP522-0214
         Matthew Rohrer PP522-0258                      Leisa Ketron PP522-0045                      Jason Rodgers PPS22-0088
         Arthur Boyer PP522-0006                        Brent Kirkhart PPS22-0046                    Richard Roth PPS22-0091
         Scott Brady PPS22-OOd8                         Janice Kirkhart PP522-0047                   Kathy Rulo PPS22-0338
         Nicholas Bull PP522-0011                       Tyler Kirkhart PP522-0048                    Edna Russell PP522-0093
         Gary Burt PPS22-0012                           Cody Kyser PPS22-0049                        Brenda Schiwitz PPS22-0094
         Bobby Calvert PP522-0124                       Raymond Land PP522-0303                      Dylan Schneider PP522-0340
         Carolyn Champlin PP522-0013                    Frank Lundien PPS22-0055                     Mark Schneider PP522-0341
         Michael Conklin PPS22-0267                     Chad Maier PPS22-0312                        Westley Seifert PPS22-0220
         Lisa Corbett PPS22-0269                        Lyle Malcom PPS220-0313                      Thomas Skinner PP522-0224
         Norman Diggs PPS22-0274                        Kenneth Marshall PPS22-0057                  Richard Skyles PPS22-0095
         Edwina Ditmore PPS22-0275                      Michael Meador PPS22-0060                    Anthony Spada PPS22-0228
         Andrew Downs PP522-0016                        Maria Meier PPS22-0315                       Randy Stone PP522-0229
         Chris Drummond PP522-0017                      Heather Merfen PPS 22-0061                   Carrie Stroup PPS22-0350
         William Ferrell PPS22-0022                     Matthew Millhollin PPS22-0062                Robert Torrey PP522-0355
         Robert Finley PP522-0023                       Angela Moit PPS22-0064                       Lucas Traugott PP522-0356
         Dana Fortner PPS22-0286                        Jason Moody PP522-0065                       Daniel Wagner PPS22-0099
         John Frago PP522-0026                          Jeremy Nicholas PP522-0194                   Kenneth Wallace PP522-0100
         Brad Gordon PP522-0144                         Michael Noble PP522-0196                     Ryan Weekley PP522-0101
         Tom Gorgane PP522-0145                         Greg Noll PP522-0068                         Andrew Wheeler PPS22-0103
         Charles Gunning PPSZ2-0028                     Tory Owens PP522-0071                        Andrew Wickliffe PPS22-0104
         lames Hannah PPS22-0030                        Bob Peters PP522-0327                        Gregory Willing PPS22-0105
         Rufus Harmon PP522-0031                        Carrie Pfeifer PPS22-0203                    Conni Wilson PP522-0107
         Zackery Hayes PPS22-0033                       Craig Poese PPS22-0073                       Alien Yoder PP522-0366
         Stephen Heitz PP522-0035                       Anthony Powell PPS22-0329                    Rod Yoder PP522-0367
         Bridgette Hight PPS22-0293                     Dee Powell PPS22-0075                        Stan Yoder PP522-0368
         Wendy Hilgenberg PP522-0037                    Samantha Powell PPS22-0076                   Greg Zotta PPS22-0110




who are qualified persons to serve process, are not parties to the case and are not less than eighteen (18) years of age, be approved and appointed
as private process servers in the ab e cause to serve process in this case.

         By:                                           Craig E. Gustafson, MO Bar # 35024

ORDER             ~
It is hereby ordered that the plaintiff' Motion for Approval and Appointment of private process server is granted and the above-named individuals
are hereby approved and appointed to serve process in the above-captioned matter.


          Date:
                                                                              Judge or Clerk



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                                             IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI

                               Kenneth Shields, plaintiff,
                                                                            Case No: 2216-CVOOlOZ
                                          Vs.
                                                                            Division: 16
                             Site Centers Corp., defendant



                                        MOTION FOR APPROVAL AND APPOINTMENT OF PRIVATE PROCESS SERVER

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         Rufus Harmon PPS22-0031                        Carrie Pfeifer PP522-0203                    Conni Wilson PPS22-Q107
         Zackery Hayes PPS22-0033                       Craig Poese PPS22-0073                       Allen Yoder PP522-0366
         Stephen Heitz PPS22-0035                       Anthony Powell PPS22-0329                    Rod Yoder PP522-0367
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         Wendy Hilgenberg PP522-0037                    Samantha Powell PPS22-0076                   Greg Zotta PP522-0110




who are qualified persons to serve process, are not parties to the case and are not less than eighteen (18) years of age, be approved and appointed
as private process servers in the ab e cause to serve process in this case.

         By:                                           Craig E. Gustafson, MO Bar # 35024

ORDER
It is hereby ordered that the plaintiff' Motion for Approval and Appointment of private process   rver is granted and the above-named individuals
are hereby approved and appointed to serve process in the above-captioned matter.


         Date:                  25-Jan-2022                                                                  ~-

                                                                                      17EPTJTY ~OTi~RT ~4DNIINISTRATOR

                    Case 4:22-cv-00134-GAF Document 1-1 Filed 02/28/22 Page 10 of 12
  =a~r;~s.

  ~~             IN THE 16TH JUDICIAL CIRCUIT COURT,JACKSON COUNTY,MISSOURI
. ~
Judge or Division:                                                   Case Number: 2216-CV00102
MARCO A ROLDAN
Plaintiff/Petitioner:                                               Plaintiff's/Petitioner's Attorney/Address
KENNETH SHIELDS                                                     CRAIG E GUSTAFASON
                                                                    GU5TAFSON LAW LLC
                                                                    3145 BROADWAY
                                                                vs. KANSAS CITY, MO 64111
Defendant/Respondent:                                               Court Address:
SITE CENTERS CORP                                                   308 W Kansas
                                                                    INDEPENDENCE, MO C>4050
Nature of Suit:
CC PeTS Iri~U -~theP                                                                                                                  (Date File Stamp)
                                                                Summons in Civil Case
     The State of Missouri to: SITE CENTERS CORD

 SRV RA: CT CORPORATION
                               Alias:                                          PRIVATE PROCESS SERVER
 120 5 CENTRAL AVE STE 400
 CLAYTON,MO 63105

             COURTSEAL OF                     You are summoned to appear before this court and to file your pleading to the petition, a copy of
                pvRT pF                 which is attached, and to serve a copy of your pleading upon the attorney for plaintiff/petitioner at the
             .~ ti~.>
                 :~ •• ~• ;?i~N         above address all within 30 days after receiving this summons,exclusive of the day of service. If you fail to
               4 ~            ~         file your pleading,judgment by default may be taken agains        for the r of demanded in the petition.
                .:,. ic~;f'~,
             v                ~                       25-JAN-2022
                ~`~•'~                                    Date                                                       Clerk
          JACXSON COUNTY                 Further Information:

                                                             Sheriffs or Server's Return
      Note to serving offcer: Summons should be returned to the court within 30 days a8er the date ofissue.
      I certify that I have served the above Summons by: (check one)
      ❑ delivering a copy of the summons and petition to the defendandrespondent.
      ❑ leaving a copy of the summons and petition at the dwelling place or usual abode ofthe defendandrespondent tyith
                                                                 a person at least 18 years of age residing therein.
      ❑ (for service on a corporation) delivering a copy ofthe summons and petition to
                                                                                  (name)                                                          (title).
      ❑ other
     Served at                                                                                                                                (address)
     in                                          (County/City of St. Louis), MO,on                                   (date) at                     (time).

                      Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
               (Seal)               Must   be  sworn    before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on                                                   (date).
                                      My commission expires:
                                                                               Date                                          Notary Public


      Sheriffls Fees
      Summons                  $
      Non Est                  $
      Sheriff's Deputy Salary
      Supplemental Surcharge   $       10.00
      Mileage                  $                    ~miles @ $.                per mile)
      Total                    $
      A copy of the summons and petition must be served on each defendant/respondent. For methods of service on all classes of suits, see
      Su reme Court Rule 54.

OSCA (11/2021) SM30(JAKSMCC)For Coiu•t Use Only: DocumentId # 22-SMCC-460 1 of 1Civi1 Procedure Form No. 1,Rules 54.01— 54.05,
                     Case 4:22-cv-00134-GAF Document 1-1 Filed 02/28/22                                  Page
                                                                                                 54.13, and        11 of —12
                                                                                                            54.20; 506.120 506.140, and 506.150 RSMo
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                          ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types ofPetitions and other filings.

Please refer to the Court's website for instructions on how to assemble the service packets at:

16thcircuit.org —> Electronic Filing Information —~ Required Documents for Service — eFiled cases —>
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.



                                                     Circuit Cotu-t of Jackson County




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